       Case 19-43290          Doc 4     Filed 01/04/20 Entered 01/04/20 04:01:00                   Desc Notic of
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Form ntcpfm

                            THE UNITED STATES BANKRUPTCY COURT
                                  For the Eastern District of Texas
                                         Sherman Division
   IN RE:
   A Stone Above, LLC                                         Case No.: 19−43290 BTR
   10000 Wilson Road
   Pilot Point, TX 76258                                      Chapter: 7
   Social Security No.:


   Debtor(s)



                               Notice to Individual Debtor(s) Regarding Submission
                                 of Documents Required for Entry of Discharge




Upon review of the Court's docket in the above−referenced case, the Clerk notes that the following required
documents have yet to be filed with the Court:

* Certification of Completion of Instructional Course Concerning Personal Financial Management (Form 423)

In a chapter 7 case, the debtor shall file the certification within 60 days after the first date set for the meeting of
creditors under §341 of the Code, and in a chapter 11 or 13 case no later than the date when the last payment was
made by the debtor as required by the plan or the filing of a motion for a discharge under §1141(d)(5)(B) or
§1328(b) of the Code. Fed. R. Bankr. P. 1007(c).

A list of approved personal financial management course providers may be obtained at http://www.justice.gov/ust.
Select Credit Counseling & Debtor Education and then select Approved Debtor Education Providers from the list of
menu options.

NOTICE: The failure of an individual to provide this document will result in the closing of the case without a
discharge unless the statement is filed within the applicable time limit under Rule 1007(c). All forms can be
found at the Court's website http://www.txeb.uscourts.gov or at the Clerk's offices between the hours of 8:00
am and 4:00 pm.

Dated: 1/4/20

                                                              Jason K. McDonald, Clerk
